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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff,        )
                                          )
      vs.                                 )                         Case No. 11-40078-01-JAR
                                          )
VIROK D. WEBB,                            )
                                          )
                        Defendant.        )
                                          )
__________________________________________)


                                   MEMORANDUM AND ORDER

        Before the Court is Defendant’s Motion to Dismiss Count Three of the Superseding

Indictment for Failure to Invoke this Court’s Jurisdiction (Doc. 342) and Defendant’s Motion in

Limine (Doc. 344).1 The Court held a hearing on September 19, 2013, where it took the motions

under advisement and the parties supplied post-hearing briefs (Docs. 422, 423) on the motion in

limine. For the reasons described more fully below, Defendant’s motion to dismiss is denied

and Defendant’s motion in limine is granted.

I.      MOTION TO DISMISS COUNT THREE

        Defendant challenges the Court’s jurisdiction under the federal witness tampering statute,

18 U.S.C. § 1512(a)(1)(C), as applied to him. Count Three of the Superseding Indictment

charges Defendant with murder to prevent a person from providing information concerning a

federal crime to a law enforcement officer of the United States pursuant to 18 U.S.C. §

1512(a)(1)(C). The Government must prove the following under § 1512(a)(1)(C): “(1) a killing


        1
         Defendant’s Motion for Notice Under Rule 404(b) was converted to Motion in Limine during the hearing
held on September 19, 2013.
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or attempted killing, (2) committed with a particular intent, namely, an intent (a) to ‘prevent’ a

‘communication’ (b) about ‘the commission or possible commission of a Federal offense’ (c) to

a federal ‘law enforcement officer or judge.”2 Additionally, prosecution under the federal

witness tampering statute does not require a state of mind with respect to the circumstance that

the law enforcement officer is an employee or agent of the federal government.3

       Defendant relies on United States Supreme Court case, Fowler v. United States.4 At

issue in Fowler was what the Government must prove to establish that a defendant more

particularly intended to prevent a communication with federal officers and not just law

enforcement generally. In Fowler, several bank robbers conspired and killed a local officer to

prevent him from reporting their robbery. The Supreme Court reasoned that one can possess

intent even if there is a relatively low chance that the event the intent contemplates will occur.5

However, “one cannot act with an ‘intent to prevent’ something that could not possibly have

taken place regardless.”6 The Supreme Court explained that “the Government must show a

reasonable likelihood that had, e.g., the victim communicated with law enforcement officers, at

least one relevant communication would have been made to a federal law enforcement officer.”7

The Government need not show that this communication would have been federal beyond a



       2
        Fowler v. United States, 131 S. Ct. 2045, 2049 (2011).

       3
        18 U.S.C. § 1512(g)(2).
       4
        131 S. Ct. 2045 (2011).

       5
        Fowler, 131 S. Ct. at 2050.

       6
        Id.

       7
        Id. at 2052.

                                                       2
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reasonable doubt nor even more likely than not.8

        Defendant first argues that a relevant communication to federal law enforcement would

not have happened because the investigation involving the victim was purely local at the time of

her death. Defendant posits that local law enforcement had not authored a single report

indicating that they were investigating the victim for federal drug violations and the first mention

of federal involvement in this case occurred over a year after the victim’s death. Defendant

notes that the Supreme Court advised that the witness tampering statute should not be

transformed to bring within its ambit witness tampering that is “purely state” in nature.9

However, this case is not purely state in nature. For “the Supreme Court [also] recognized that

‘when a defendant acts in ways that violate state criminal law, some or all of those acts will

violate federal criminal law as well.’”10 The Government proffers that Defendant engaged in the

type of widespread drug trafficking with a detailed organizational structure that would make him

the target of a federal, rather than state investigation.11 A local officer also testified that local

authorities, from the outset, intended to investigate the case as a drug conspiracy and turn it over

to the federal authorities. Defendant was ultimately charged with a federal offense for violating

drug laws. Moreover, two months before the murder, an informant contacted the DEA — a




        8
         Id.
        9
         Id.
        10
          United States v. Ramos-Cruz, 667 F.3d 487, 498 (4th Cir. 2012) (holding that when a federal investigation
commenced one month after the relevant murder, and local authorities investigated the underlying crime actively
cooperated with federal law enforcement officers, the reasonable likelihood standard was met).
        11
           See United States v. Smith, No. JFM-11-953, 2012 WL 1145864 at *6 (D. Md. Apr. 2, 2012) (setting out
several non-exclusive factors considered by DEA in determining whether to investigate, including: scale of
organization, structure of organization, propensity for violence and criminal history of the parties involved).

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federal agency— to report Defendant’s drug activity.12 While the DEA ultimately decided not to

pursue a case against Defendant, relevant communication was documented in a report.13

Additionally, a DEA agent testified that if the victim wanted to offer further information about

Defendant’s drug activity, she would not have been turned away. While a federal nexus may not

have been readily apparent at the time of the murder, the federal nature of the investigation need

not have been ongoing at the time of the potential witness’s death.14 Therefore, the Court finds

that the Government could demonstrate a reasonable likelihood that had the victim

communicated with authorities, at least one relevant communication would have been made to a

federal law enforcement officer given that Defendant allegedly violated federal laws, was

ultimately prosecuted at the federal level, and an informant reported his alleged drug activity to a

federal agency.

       Defendant further contends that because the victim did not confirm that she was willing

to cooperate with local law enforcement, a communication with federal law enforcement “was

never going to happen” and thus could not be prevented. The Court disagrees with this

application of Fowler. Whether or not the victim ever intended to cooperate during that meeting

remains unclear based on witness testimony. But, the witness tampering statute does not

contemplate the intent of the victim but rather the intent of the offender. Determining the

potential witness’s unequivocal or likely intent to communicate would not only pose a challenge,

but it would also undercut the purpose of the statute by encouraging, rather than deterring, the



       12
            See Ex. 3.
       13
            Id.

       14
            Ramos-Cruz, 667 F.3d at 498.

                                                  4
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rapid killing or attempted killing of a potential witness. For “[w]itness tampering may prove

more serious (and more effective) when the crime takes place before the victim has engaged in

any communication at all with law enforcement officers.”15 Thus, the Fourth Circuit affirmed a

conviction under § 1512(a)(1)(C) even when the victim showed no intent to communicate with

federal officers.16 The Court is thus not persuaded that the victim needed to demonstrate a clear

intent to communicate under § 1512(a)(1)(C). At the time of the victim’s death, it was still

possible for a relevant communication with federal law enforcement to occur considering that

she had a briefing scheduled with local law enforcement agents who were investigating the case

with plans to turn it over to federal authorities. Local law enforcement agents in this case were

also investigating the victim’s role in the drug conspiracy involving Defendant when they

approached her. The Court finds that despite the victim’s failure to confirm that she would

cooperate with federal law enforcement or even local law enforcement, there was still a

reasonable likelihood that had the victim communicated with law enforcement, at least one

relevant communication to federal law enforcement officer would have been made.

II.     MOTION IN LIMINE

        Defendant moves this Court to exclude Defendant’s 2002 conviction for possession with

intent to distribute five grams or more of crack cocaine under Fed. R. Evid. 404(b) and 403. The

Government argued that Defendant’s 2002 conviction was admissible as evidence of motive,


        15
             Id. at 2049.
        16
           See United States v. Wainwright, 480 F. App’x 238, 241(4th Cir. 2012) (finding that the jury could have
reasonably assumed that a robber, who was charged with violating other federal crimes in connection with killing a
witness, killed a witness to prevent her from identifying him to federal law enforcement when he told other people
she saw his face and would be able to identify him); see also Ramos-Cruz, 667 F.3d at 487 (noting that, applying the
Fowler standard, prosecution under § 1512(a)(1)(C) still reaches killings that occur before the victim communicates
with law enforcement officers).

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opportunity, and intent pursuant to Fed. R. Evid. 404(b). During the hearing, the Government

moved to admit this evidence to support the drug conspiracy charges against Defendant; but the

Government has since withdrawn its motion, noting that “such admission, under certain

circumstances, constitutes error.” The Government now maintains that this prior conviction is

admissible as intrinsic, or res gestae, to the conduct charged in Count Three of the Indictment so

it is not subject to Rule 404(b), which applies to extrinsic acts.17 Evidence of other acts is

intrinsic to the crime charged, and does not come within the scope of Rule 404(b), if “it was part

of the scheme for which a defendant is being prosecuted,”18 or “so ‘inextricably intertwined’

with the crime charged that the testimony concerning the charged act ‘would have been

confusing and incomplete without mention of the prior act.’”19 “Extrinsic evidence, on the other

hand, is extraneous and is not intimately connected or blended with the factual circumstances of

the charged offense.”20

         Defendant argues that the prior conviction is extrinsic to the instant charges. The Court

agrees. Defendant is charged with drug conspiracies spanning 2008 to 2011, as well as murder

to prevent communication to a federal officer. Evidence of the 2002 conviction is not

inextricably intertwined with the factual circumstances of this case. And the lack of temporal



         17
          United States v. Record, 873 F.2d 1363, 1372 n.5 (10th Cir. 1989) (citing United States v. Orr, 864 F.2d
1505, 1510 (10th Cir. 1988)).
         18
              Id. (citing Orr, 864 F.2d at 1510).
         19
            United States v. Treff, 924 F.2d 975, 981 (10th Cir. 1991) (quoting United States v. Richardson, 764 F.2d
1514, 1521-22 (11th Cir. 1985)); see also United States v. Jeffrey, 128 F. App’x 680, 698–99 (10th Cir. 2005) (“Rule
404(b) only applies to acts extrinsic to the crime charged. Evidence of acts intrinsic to, inextricably intertwined
with, or a necessary preliminary to the crime charged, is admissible.”) (citing United States v. Green, 175 F.3d 822,
831 (10th Cir. 1999); United States v. Lambert, 995 F.2d 1006, 1007 (10th Cir. 1993) (emphasis added)).
         20
              United States v. Kimball, 73 F.3d 269, 272 (10th Cir. 1995).

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proximity between the offenses alleged and his prior conviction preclude a finding of intrinsic

acts. The Government argues that without evidence of this prior conviction it cannot prove that

Defendant’s case would have been presented to federal authorities, pursuant to § 1512(a)(1)(C).

But, as discussed above, there is other evidence from which the Court found, and a jury could

find, a reasonable likelihood that a relevant communication could have been made to federal

authorities.

        Moreover, even if Defendant’s 2002 conviction was intrinsic, and therefore admissible, it

would not survive the admissibility test under Rule 403, for the probative value of the prior

conviction is outweighed by the danger of unfair prejudice. The conviction or conduct

underlying the 2002 conviction is not intrinsic to the drug charges in this case, and has no

permissible probative value. Evidence of the 2002 conviction would likely suggest that

Defendant has a propensity to sell drugs, a conclusion that rule 404(b) is designed to prevent.

And, Defendant faces a mandatory minimum sentence of life imprisonment on the drug charges

in this case, based on his criminal history, the quantity of drugs charged and the effect of 21

U.S.C. 851(b). Thus, even if the Court found this evidence was intrinsic and not subject to Rule

404(b), it would find that admission of Defendant’s prior drug conviction is substantially

outweighed by the danger of unfair prejudice in violation of Fed. R. Evid. 403.

        IT IS THEREFORE ORDERED BY THE COURT THAT Defendant’s Motion in

Limine (Doc. 344) is GRANTED. The 2002 conviction for possession with intent to distribute

five grams or more of crack cocaine is excluded.

        IT IS FURTHER ORDERED THAT Defendant’s Motion to Dismiss Count Three of

the Superseding Indictment (Doc. 342) is DENIED.


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      IT IS SO ORDERED.

Dated: November 8, 2013
                                           S/ Julie A. Robinson
                                          JULIE A. ROBINSON
                                          UNITED STATES DISTRICT JUDGE




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